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7
                                   UNITED STATES FEDERAL COURT
8
                     IN AND FOR THE CENTRAL DISTRICT OF CALIFORNIA
9                                    LOS ANGELES COURTHOUSE
10

11    WENFANG XU                                      )       CASE NO. 2:19-cv-08710-JAK-AGR
                                                      )
12
                     Plaintiff,                       )
                                                      )
13
      v.                                              )       PLAINTIFFS’ MOTION TO REMAND
                                                      )
14                                                    )       PURSUANT TO 28 U.S.C. § 1447(a)
      FLAGSTAR BANK, FSB; AURORA
      FINANCIAL GROUP, INC.; LOANCARE,                )
15                                                    )       Assigned to the Hon. John A. Kronstadt
      LLC; and DOES 1 through 10 inclusive,           )
16                                                    )       Date: June 8, 2020
                     Defendants.                      )
17                                                    )       Time: 8:30 a.m.
                                                      )       Courtroom: 10B
18                                                    )
                                                      )
19                                                    )
20

21
           I.    Introduction and Background
22
                     Plaintiff Wenfang Xu filed a complaint in the Los Angeles County Superior
23
      Court, on October 7, 2019, alleging five counts of violations of California Civil and Business
24
      Professions Codes governing the debt collection, handling, transfer and servicing and of
25
      Plaintiff’s mortgage loan by Defendants FLAGSTAR BANK, FSB, AURORA FINANCIAL
26
      GROUP, INC., and LOANCARE, LLC (Collectively “Defendants”), such violations which led
27    to foreclosure proceedings against Plaintiffs’ real property.
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1              The Plaintiff lives in Los Angeles County and the real property that is the subject
2     of this matter is located in the city of Arcadia, County of Los Angeles. The summonses were
3     issued on October 7, 2019 and were available on October 7, 2019.

4                      On October 9, 2019, Before Defendants were properly served, Defendants

5
      FLAGSTAR BANK, FSB and LOANCARE, LLC moved the case to this Court under 28 U.S.C.
      § 1441, on the basis of federal jurisdiction. Service has not yet been confirmed for Defendant
6
      AURORA FINANCIA GROUP, INC. as of the date of this motion.
7
                       For the reasons set forth herein, this matter should be remanded to Superior
8
      Court for the State of California.
9

10
         II.       Argument
11                     Under 28 U.S.C. 1441, a Defendant may remove a case from State court to
12    Federal court if the Federal court has original jurisdiction over the case ascertained by the face of
13    the Plaintiffs’ complaint. Before Defendants were served on October 15, 2019, Plaintiff amended

14    her complaint to remove the cause of action alleging violation of the Federal Debt Collection

15
      Practices Act (“FDCPA”) and added a cause of action alleging negligence. Plaintiffs’ First
      Amended Complaint was filed with this Court on October 22, 2019.
16
               Under 28 U.S.C. 1446(b)(1), The notice of removal of a civil action or proceeding shall
17
      be filed within 30 days after the receipt by the defendant, through service or otherwise, of a copy
18
      of the initial pleading setting forth the claim for relief upon which such action or proceeding is
19
      based, or within 30 days after the service of summons upon the defendant if such initial pleading
20
      has then been filed in court and is not required to be served on the defendant, whichever period is
21    shorter.
22             Although a “courtesy copy” of the conformed summons and complaint was emailed to
23    the Defendants’ Trustee, Barrett Daffinn Frappier Treder and Weiss, LLP, on October 7, 2019,
24    such receipt does not constitute proper service, particularly since Barrett Daffin Frappier Treder

25
      and Weiss, LLP is not a named Defendant in this matter.
                 Receipt of a copy of the complaint without formal service cannot commence the 30-day
26
      removal period and that only proper service on the defendant would commence the 30-day
27
      period The historic function and practical importance of service of process – a “bedrock
28
      principle” that is “fundamental to any procedural imposition on a named defendant.”


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                                    PLAINTIFFS’ MOTION TO REMAND
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1     Because service of some sort is required before a court may assert jurisdiction over a defendant,
2     the removal clock should not be able to run before a defendant is properly served. See Murphy
3     Brothers, Inc, v. Michetti Pipe Stringing, Inc. 526 U.S. 344, 119 S. Ct. 1322, 143 L. Ed. 2d 448,

4     1999 U.S.

5
                 Additionally, Defendant AURORA FINANCIAL GROUP, INC. has not yet been served
      Id. Under 28 U.S.C. 1446 (b)(2)(A), When a civil action is removed solely under section 1441,
6
      all defendants who have been properly joined and served must join in or consent to the removal
7
      of the action.
8
                 Lastly, there is no longer any Federal cause of action in the First Amended Complaint.
9
      Thus, the proper venue would be in the Superior Court for the State of California.
10

11        III.      Conclusion
12               As removal was improper, the case must now be remanded to State court. Accordingly,
13    Plaintiff requests that this matter be remanded to the Superior Court for the State of California,

14    Los Angeles.

15
      Dated: October 25, 2019
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                                                             LA LEGAL LAW, PC
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21                                                           Laleh Ensafi, Esq., Attorney for Plaintiff
                                                             WENFANG XU
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                                     PLAINTIFFS’ MOTION TO REMAND
